                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR08-3041-LRR
 vs.                                                   DETENTION ORDER
 ERIC CHAPMAN,
               Defendant.
                                ____________________

        This matter came on for detention hearing on October 15, 2008. Assistant U.S.
Attorney Shawn Wehde appeared on behalf of the plaintiff (the “Government”). The
defendant Eric Chapman appeared in person with his attorney, Chad Primmer. The
Government offered the testimony of ATF Special Agent Kerri Hoogendoorn.
        The court must determine whether any condition or combination of conditions will
reasonably assure Chapman’s appearance as required, as well as the safety of any other
person and the community, in deciding whether to grant the Government's motion for
detention. 18 U.S.C. § 3142(e). A defendant may be detained based on a showing of
either dangerousness or risk of flight; it is not necessary to show both. United States v.
Apker, 964 F.2d 742, 743 (8th Cir. 1992); United States v. Sazenski, 806 F.2d 846,848
(8th Cir. 1986).
        The court is to presume that no condition or combination of conditions will
reasonably assure the appearance of Chapman as required and the safety of the community
if the court finds there is probable cause to believe Chapman committed an offense of the
type identified in 18 U.S.C. § 3142(e) for which a maximum term of imprisonment of ten
years or more is prescribed by law. 18 U.S.C. § 3142(e); see 18 U.S.C. § 3142(f)(1).
The probable cause element of section 3142(e) that triggers the rebuttable presumption of
risk of flight and danger to the community may be established through evidence presented




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at the detention hearing of an offense which is subject to the rebuttable presumption. See
Apker, 964 F.2d at 744; United States v. Dorsey, 852 F.2d 1068, 1069 (8th Cir. 1988).
      In the present case, the evidence indicates Chapman received stolen weapons, and
he also was involved in a scheme to defraud a fellow criminal. He has a previous felony
drug offense, and on several occasions, he has failed to comply with conditions set by a
court. In addition, he was on supervision throughout the entire time period during which
the charged conduct took place. Further, Chapman has failed to offer any evidence to
rebut the presumption that he is a danger to the community. Viewing the record as a
whole, the court finds nothing to indicate Chapman would be able to refrain from
continuing to engage in criminal activities if he were released.
      Accordingly, the court finds the Government has proved by a preponderance of the
evidence that Chapman is a flight risk, and by clear and convincing evidence that Chapman
would be a danger to the community if released. Therefore, the court finds the following:
      1.      Chapman is committed to the custody of the Attorney General for
confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal.
      2.      The Attorney General shall afford Chapman reasonable opportunity for
private consultation with counsel while detained.
      3.      On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver Chapman to the
United States Marshal for the purpose of an appearance in connection with a court
proceeding.
      4.      If a “review” motion for revocation or amendment is filed, pursuant to 28
U.S.C. § 3145(a) or (b), the party requesting a change in the original order must:
              (a)    Attach a copy of the release/detention order to the appeal;
              (b)    Promptly secure a transcript.


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      5.     There is no automatic stay of this Order. Therefore, Chapman must request
such relief from the court.
      IT IS SO ORDERED.
      DATED this 28th day of October, 2008.




                                       PAUL A. ZOSS
                                       CHIEF MAGISTRATE JUDGE
                                       UNITED STATES DISTRICT COURT




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